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 1   HEATHER E. WILLIAMS, Bar #122664
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     Assistant Federal Defenders
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 6   Attorneys for Defendant
     ESTELO CHAIDEZ-LEON
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                 )   Case No. 1:14-cr-00226-DAD-BAM-1
                                                )
12                     Plaintiff,               )   STIPULATION AND ORDER TO VACATE
                                                )   TRIAL DATE AND SET CHANGE OF PLEA
13    vs.                                       )   HEARING
                                                )
14    ESTELO CHAIDEZ-LEON,                      )   Date: January 17, 2017
                                                )   Time: 10:00 a.m.
15                    Defendant.                )   Judge: Hon. Dale A. Drozd
                                                )
16                                              )

17
18          IT IS HEREBY STIPULATED by and between the parties through their respective
19   counsel, Assistant United States Attorney, Kathleen A. Servatius, counsel for the plaintiff, and
20   Assistant Federal Defender, Megan T. Hopkins, counsel for defendant, Estelo Chaidez-Leon, that

21   the matter be set for a change of plea hearing on January 17, 2017, at 10:00 a.m., before
22   Honorable Dale A. Drozd. The parties further stipulate that the trial currently scheduled to begin
23   on November 7, 2017, at 1:00 p.m. be vacated as to defendant Estelo Chaidez-Leon.

24   ///
25   ///
26   ///
27   ///
28   ///
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 1            The parties have reached a resolution in this case and a plea agreement will be filed with

 2   the court.

 3                                                  Respectfully submitted,

 4                                                  PHILLIP A. TALBERT
                                                    United States Attorney
 5
 6   Date: January 3, 2017                          /s/ Kathleen A. Servatius
                                                    KATHLEEN A. SERVATIUS
 7                                                  Assistant United States Attorney
                                                    Attorney for Plaintiff
 8
 9                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
10
11   Date: January 3, 2017                          /s/ Megan T. Hopkins
                                                    MEGAN T. HOPKINS
12                                                  Assistant Federal Defender
                                                    Attorney for Defendant
13                                                  Estelo Chaidez-Leon

14
15                                                ORDER

16            The Court has reviewed and considered the stipulation of the parties to vacate the trial

17   and set a change of plea hearing in this case. Good cause appearing, the trial currently scheduled
18   to begin on November 7, 2017, is vacated as to defendant Estelo Chaidez-Leon only and the
19   matter is set for a change of plea hearing on January 17, 2017, at 10:00 a.m. in Courtroom 5
20   before District Judge Dale A. Drozd.
21
     IT IS SO ORDERED.
22
23         Dated:   January 4, 2017
                                                         UNITED STATES DISTRICT JUDGE
24
25
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27
28

     fff                                              -2-
